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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,

        Plaintiff,

        v.                                              Case. No. 19-20052-JAR-JPO

FENG TAO a/k/a “Franklin Tao,”

        Defendant.


                                ENTRY OF APPEARANCE

        Pursuant to the Court’s November 2, 2020 Order (Doc. 99), Gregory Wu of the law firm

of Shook, Hardy & Bacon, LLP hereby enters his appearance on behalf of amici curae Asian

Americans Advancing Justice – AAJC and Asian Americans Advancing Justice – ALC in the

above-entitled case.

November 3, 2020                              Respectfully submitted,

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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 3rd day of November 2020, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system which sent notification of such

filing to the following:


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